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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                Plaintiff,
                                                              CASE NO. 1:19-CR-25-02
v.
                                                              HON. ROBERT J. JONKER
MOHAMED SALAT HAJI,

            Defendant.
__________________________________/

                                              NOTICE

         The parties agree that the sentencing guideline score (after a 3-point credit for acceptance

of responsibility) is offense level 35, criminal history category VI. That corresponds to 292-365

months on the chart, but the parties also agree the controlling guideline in this case is 240 months,

the statutory maximum for the count of conviction.

         The parties significantly disagree, however, about the actual sentence the Court should

impose after considerations of departure and variance. The government urges a final sentence of

240 months. The defense urges a custodial sentence of no greater than 78 months considering

departure and variance factors.

         As always, the Court will weigh and consider all relevant Section 3553 factors. In addition,

the Court anticipates considering whether a downward departure on criminal history category is

warranted under USSG 4A1.3. See, e.g., United States v. Alhaggagi, 372 F.Supp.3d 1005, 1012-

1017 (N.D. Cal. 2019) (Breyer, J.), vacated on other grounds, 978 F.3d 693 (9th Cir. 2020); United

States v. Muhtorov, 329 F. Supp. 3d 1289, 1300-1301 (D. Colo. 2018). Cf. United States v. Mason,

410 Fed. Appx. 881, 884-85 (6th Cir. 2010) (noting trial judge’s conclusion that the terrorism
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enhancement’s mandated category VI “did not cause an overstatement of [defendant’s] criminal

history because [defendant] had admitted in her plea agreement to participating in a long list of

uncharged crimes”).

         The Court also notes that the parties may find it useful to review a summary of other

sentences imposed across the country in material support cases that Senior Judge Kane included

in a lengthy sentencing opinion. See United States v. Jumaev, 2018 WL 3490886, Case Appendix

following *22 (D. Colo. July 18, 2018). Direct case comparisons are almost always fraught with

difficulty, but both sides have addressed potential sentencing disparity and the Case Appendix in

Jumaev at least provides some concrete examples.




Dated:      September 20, 2021              /s/ Robert J. Jonker
                                            ROBERT J. JONKER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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